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JUL 19 2013

MAHALA N. SA
IN THE CIRCUIT COURT OF LOWNDES COUNTY _ CIRCUITCLERK

STATE OB(UEDssIr Pi

CICELY HOPKINS AND os PLAINTIFFS
KRISTEN SMITH opp 83 2
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BY.

LOWNDES COUNTY SHERIFF DEPARTMENT; LOWNDES [130/ba-A-S
COUNTY CHANCERY CLERK; LOWNDES COUNTY;
DEPUTY ROBBIE ROBERTSON & JOHN DOES 1-10 DEFENDANTS

COMPLAINT
(TRIAL BY JURY REQUESTED)

COMES NOW, Plaintiffs Cicely Hopkins and Kristen Smith, by and through
counsel, files this Complaint against the above named Defendants and would state
as follow:

I.

INTRODUCTION

This action arises under the Fourth, Fifth and Fourteenth Amendments to
the United States Constitution; under federal law, specifically, 42 U.S.C. §§1983
and 1988; under the Mississippi governmental tort liability statutes; under Miss.
Code Ann. §1 1-46-1, et seq., and under Mississippi common law for intentional
and/or negligent infliction of emotional distress, negligence, negligent supervision,
gross negligence, assault and battery, and civil conspiracy.

While the individual Defendants were acting in the scope of their

employment and under color of state law when, they assaulted and battered the
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Plaintiffs through the excessive use of force used against. them. The Defendants’
actions caused permanent emotional and physical injury to the Plaintiffs.
iI.
JURISDICTION AND VENUE

1. This court has jurisdiction over the subject matter of this action, and
venue is properly set in this Court pursuant to Mississippi Code Annotated §11-11-
3, which provides for venue in the county where a substantial alleged act or
omission occurred or where a substantial event that caused the injury occurred.

2. The causes of action alleged herein arise from factual allegations
occurring in Lowndes County, Mississippi.

Li.
PARTIES

3. Plaintiffs Cicely Hopkins and Kristen Smith are adult resident citizens
of Lowndes County in the State of Mississippi.

4, Defendant Lowndes County Sheriff Department (“LCSD”) is a local law
enforcement entity located in Columbus, Mississippi and may be served with
process on it’s the sheriff: Mike Alredge and the Chancery Clerk of Lowndes
County.

5. Defendant Lowndes County Chancery Clerk is a court of record for
Lowndes County, Mississippi located in Columbus, Mississippi and may be served
with process on the Chancery Clerk, Lisa Younger Neese, whose address is 505 2nd

Avenue North, Columbus, MS 39701. -
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6. Defendant Lowndes County is a county and local government in
Mississippi and may be served with process on the Chancery Clerk.

7, Defendant Deputy Robbie Robertson is a resident of Lowndes County,
Mississippi.

8. Upon information and belief, the Defendant, Deputy Robbie Robertson
is a citizen and resident of Lowndes County, Mississippi, and was at all times
material to the allegations in this Complaint, acting in his capacity as an employee
of the Lowndes County Sheriffs Department located at 527 Martin Luther King Jr.
Drive S, Columbus, Mississippi 39701 and was acting under color of state law.

9. Defendant John Does 1-10 are persons or entities whose identities are
unknown at this time, but when those parties’ true identities is discovered, the
pleadings will be amended by substituting their true names and giving proper
notice to these parties pursuant to M.R.C.P. 9. These Defendants consist of other
employees or agents of the Lowndes County or other individuals, whether singular
or plural, or who use of excessive force caused, or violated constitutional rights

contributed to cause the Plaintiffs injuries and damages.

IV.
FACTS

10. On July 21, 2012, Plaintiffs Cecily Hopkins and Kristen Smith were
driving home from work and were stopped by Deputy Robbie Robertson for

speeding.
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11. While being arrested and placed in handcuffs by Deputy Robertson,
Plaintiff Cecily Hopkins was slammed to the ground where she landed on her face
and stomach by Deputy Robertson and then was placed in a head lock that hindered
her breathing. Two unidentified deputies arrived on the scene to assist Deputy
Robertson.

12. Among other things, Robertson used Hopkins body as leverage to help
her stand up. Plaintiff Cecily incurred abrasions and contusions in multiple
locations. The Deputies then arrested Kristen Smith who was a bystander. She
filmed the entire incident on her phone, and upon arrest both their phones were
take only to be returned with the video deleted.

13. None of the other deputies present made any move to stop the
constitutional violations that were occurring against Cecily Hopkins. The actions of
Defendant violated clearly established and well-settled federal constitutional rights
to be free from the use of excessive force.

14. At all relevant times, Plaintiffs hands were restrained and she was
unable to defend herself from the attack or brace her fall from being slammed onto
the ground by the Defendant.

17. Atno time during the above-mentioned attack did the Plaintiff initiate
any physical contact with Defendant Robertson to provoke this attack.

18. At all relevant times, Defendant Robertson, was an employee and/or

agents of the Lowndes County Sheriff's Department. .
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19. Defendant Robertson was aware or should have been aware the
restraint of citizens requires special procedures, policies, and customs to be used so
as to not unnecessarily harm the citizens in their custody. The failure to
promulgate and implement such procedures, policies, or customs caused the
perpetuation of procedures, policies or customs leading directly to the use of
excesSive and unreasonable force against Hopkins.

21. The Defendant, individually, and in concert with the others, acted
under color of law in his/their official capacity, to deprive Plaintiff of her right to
freedom from illegal and excessive use of force. All of these rights are secured to
Plaintiff by the Fourth and Fourteenth Amendments to the Constitution of the
United States and by 42 U.S.C.A. §§ 1983 and 1988.

22. The Defendant, the Lowndes County Sheriffs Department, failed to
adequately supervise the Defendant, Deputy Robbie Robertson.

23 As a direct.and proximate result of the intentional and/or negligent
acts of Defendants, Plaintiff sustained mental and physical pain and suffering and
injury in an amount that will be established at trial.

24. Asa further direct and proximate result of the intentional and/or
negligent acts of the Defendant.

25. Plaintiff is entitled to compensation for the constitutional harms the

Defendants inflicted upon him.
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26. Plaintiff is entitled to compensation pursuant to Miss. Code Ann. §11]-
46-1, et seq. and the Mississippi Tort Claims Act (“MTCA”) for harms inflicted upon

them by the Defendants.

V.
CAUSES OF ACTION
. COUNT I
Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983
(General Aliegations)
27. Plaintiff realleges and incorporates herein by reference the
allegations set forth in paragraphs 1-26 of this Complaint.

28. In committing the acts complained of herein, Defendants acted under
color of state law to deprive Plaintiff of certain constitutionally protected rights
under the Fourth, Fifth, and Fourteenth Amendments to the Constitution of the
United States including, but not limited to the right to be free from excessive use of
force by persons acting under color of state law.

29. In violating Plaintiff's rights as set forth above and other rights that
will be proven at trial, Defendants acted under color of state law and used excessive

force against Plaintiff, in violation of Plaintiff rights under the Fourth, Fifth and

Fourteenth Amendments to the Constitution of the United States.
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30. As a direct and proximate result of the violation of her constitutional
rights by the Defendant, Plaintiff suffer ed general and special damages as alleged
in this Complaint and is entitled to relief under 42 U.S.C §1983.

31. The conduct of Defendant was willful, malicious, oppressive and/or
reckless, and was of such a nature that punitive damages should be imposed in an

aiount commensurate with the wrongful acts alleged herein.

| COUNT IT
Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983
(Failure to Implement Appropriate Policies, Customs and Practices)

32. Plaintiff realleges and incorporates herein by reference the allegations
set forth in paragraphs 1-26 of this Complaint.

33. Defendant Deputy Robbie Robertson, implicitly or explicitly adopted
and implemented careless and reckless policies, customs, or practices, that included,
among other things, of allowing employees of the Lowndes County Sheriff's
Department to use excessive force where less sever alternatives existed.

34. The failure of Defendant Lowndes County Sheriffs Department to
adequately train and supervise the Defendant Robbie Robertson amounts to
deliberate indifference to the rights of Cecily Hopkins to be free from excessive force
and unreasonable seizures under the Fourth, Fifth, and Fourteenth Amendments to
the Constitution of the United States.

35. As a result of this deliberate indifference to rights, Hopkins suffered

personal injuries and is entitled to relief under A2 U.S.C. §1983.
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36. In committing the acts complained of herein, Defendants acted under
color of state law to deprive Plaintiff as alleged herein of certain constitutionally
protected rights including, but not limited to, the right to be free from excessive use
of force by persons acting under color of state law.

COUNT UI
Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983
(Use of excessive Force)

37. Plaintiff realleges and incorporates herein by reference the allegations
set: forth in paragraphs 1-26 of this Complaint.

38. The Defendant, the Lowndes County Sheriffs Department, has adopted
policies, procedures, practices or, among other things, the use of excessive force
when other more reasonable and less drastic methods are available.

COUNT IV
(Negligence)
Mississippi Tort Claims Act
Pursuant to MCA 11-46-1 et seq. and Mississippi Common Law

39. Plaintiff realleges and incorporates herein by reference the allegations
set forth in paragraphs 1-26 of this Complaint.

40. Each owed Plaintiff a duty to use due care at or about the times of the
aforementioned incident.

41. In committing the aforementioned acts and/or omissions, each

Defendant negligently breached said duty to use due care, which directly and

proximately resulted in the injuries and damages to the Plaintiff as alleged herein.

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COUNT VI
Mississippi Common Law
(Assault and Battery)
42. Plaintiff reallege and incorporate herein by reference the allegations

set forth in paragraphs 1-26 of this Complaint.

43. Plaintiff avers that the actions of the Defendants breached a duty of
care owed to Plaintiff to not assault her or cause her physical harm or injury, except
to the extent allowed by law.

44. Plaintiff avers that the Defendants knowingly, wantonly, intentionally,
and with gross disregard for the rights of Plaintiff, committed battery upon Plaintiff
by slamming her down onto the ground while Plaintiff was restrained in handcuffs.

45. Asa direct and proximate result of the acts of the Defendants, Plaintiff

suffered both physical and mental injuries and are entitled to relief.

PRAYERS FOR RELIEF

WHEREFORE, the above premises considered, Plaintiff demands:

1. That process issue to the Defendants and that they be required to answer
in the time allowed by law.

2. That judgment be rendered in favor of the Plaintiff and against the
Defendants on all causes of action asserted herein.

3. ‘That Plaintiff be awarded those damages to which it may appear they are
entitled by the proof submitted in this cause for her physical and mental pain and
suffering, both past and future; permanent injury and disability; medical expenses, ©

both past and future.
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4. That Plaintiff be awarded punitive damages against the Defendants.

5. That Plaintiff be awarded reasonable expenses incurred in this litigation,
including reasonable attorney and expert fees, pursuant to 42 U.S.C. §1988 (b) and
(c).

6. That the Plaintiff receive any other further and general relief to which it
may appear they are entitled.

7. A jury for the trial of this matter.

DATED: JULY 17, 2013

Respectfully submitted,

CECILY HOPKINS &
KRISTEN d

By:

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